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     Telephone: 559-431-9710
 4   Attorney for Defendant, TIMOTHY NEW
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 8                                 UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         No. 1:14-CR-00101-DAD-3

12                               Plaintiff,            STIPULATION AND ORDER TO
                                                       CONTINUE SENTENCING HEARING
13          v.

14   TIMOTHY NEW,
                                                       Date: September 12, 2016
15                             Defendant.              Time: 10:00 a.m.
                                                       Judge: Honorable Dale A. Drozd
16                                                            United States Magistrate

17

18                                            STIPULATION

19          The United States of America, by and through its counsel of record, and defendant, by and

20   through his counsel of record, hereby stipulate as follows:

21          1. By previous order, this matter was set for sentencing on August 1, 2016 at 10:00 a.m.

22          2. By this stipulation, the parties now move to continue the sentencing hearing to

23               September 12, 2016 at 10:00 a.m. before United States District Judge Dale A. Drozd.

24          3. The continuance of the sentencing hearing is being requested by the defendant.

25          4. Good cause exists for this continuance because U.S. Probation has notified the

26               defendant and the government that it has recently received information from victims

27               who are requesting restitution, however, because of the late receipt of this information,

28               U. S. Probation has not had time to review the information and include it in the draft
                                                       1
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 1            presentence investigative report dated June 20, 2016, which was provided to the

 2            defendant and the government. Therefore, the defendant requests the sentencing

 3            hearing be continued to September 12, 2016 in the interest of justice.

 4         5. The government has no objection to the defendant’s request to continue the sentencing

 5            hearing.

 6         6. The parties believe that the requested continuance is in the interest of justice and

 7            would likely result in a more efficient sentencing proceeding.

 8   IT IS SO STIPULATED.

 9   DATED: July 5, 2016                 FLETCHER & FOGDERUDE, INC.

10                                        /s/ Eric K. Fogderude             .
                                         ERIC K. FOGDERUDE
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                                         Attorney for Defendant, TIMOTHY NEW
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14   DATED: July 5, 2016                 Benjamin B. Wagner

15                                       United States Attorney

16                                       /s/ Karen Escobar                   .
                                         KAREN ESCOBAR, Assistant US Attorney
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 1                                                 ORDER

 2            The Court has reviewed and considered the stipulation of the parties to continue the

 3   sentencing hearing in this case. Good cause appearing, the sentencing hearing as to defendant

 4   TIMOTHY NEW is continued from August 1, 2016, to September 12, 2016, at 10:00 a.m. in

 5   Courtroom 5 before District Judge Dale A. Drozd.

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     IT IS SO ORDERED.
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 8   Dated:     July 5, 2016
                                                           UNITED STATES DISTRICT JUDGE
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